          Case 1:23-cr-10159-IT Document 77-3 Filed 07/17/23 Page 1 of 50




                        UNITED STATES DISTRICT COURT

                         DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )
     v.                                       ) CRIMINAL NO. 23-CR-10159
                                              )
JACK DOUGLAS TEIXEIRA                         )

                    DEFENDANT JACK DOUGLAS TEIXEIRA’S
                           DETENTION APPEAL




                                      Exhibit 3

                                     Indictment

                            United States v. Donald Trump
                            United States v. Waltine Nauta

                                    23-CR-80101
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 2 of 50
                                                                          Page 1 of 49
                                                                                             FILED by    MC      o.c

                                                                                                Jun 8, 2023
                                                                                                ANGELA E. NOBLE
                                                                                               CLERK U.S. DIST. CT.
                                  UNITED STATES DISTRICT COURT                                 S.D. OF FLA. -MIAMI
                                  SOUTHERN DISTRICT OF FLORIDA
                           23-80101-CR-CANNON/REINHART
                                 Case No.
                                              ----------
                                              18 U.S.C. § 793(e)
                                              18  u.s.c.§ 1512(k)
                                              18 U.S.C. § 1512(b)(2)(A)
                                              18 U.S.C. § 1512(c)(l)
                                              18  u.s.c.§ 1519
                                              18 U.S.C. § 1001(a)(1)
                                              18 U.S.C. § 1001(a)(2)
                                              18  u.s.c.§2

      UNITED STATES OF AMERICA

      v.

      DONALD J. TRUMP and
      WALTINE NAUTA,

                      Defendants.                          ,.,
      ------------'
                                                  INDICTMENT

               The Grand Jury charges that:

                                       GENERAL ALLEGATIONS

               At times material to ~is Indictment, on or about the dates and approximate times stated

      below:

                                                   Introduction

               1.     Defendant DONALD J. TRUMP was the forty-fifth President of the United States

      of America. He held office from January 20, 2017, until January 20, 2021. As president, TRUMP

      had lawful access to the most sensitive classified documents and national defense information
                                              ,
      gathered and owned by the United States government, including information from the agencies

     that comprise the United States Intelligence Community and the United States Department of
                                                                                         DEFENDANT
     Defense.                                                                             EXHIBIT


                                                                                             3
                                                                             SCANNED
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 3 of 50
                                                                          Page 2 of 49




            2.     Over the course of his presidency, TRUMP gathered newspapers, press clippings,

    letters, notes, cards, photographs, official documents, and other materials in cardboard boxes that

    he kept in the White House. Among the materials TRUMP stored in his boxes were hundreds of

    classified documents.

            3.     The classified documents TRUMP stored in his boxes included information

    regarding defense and weapons capabilities of both the United States and foreign countries; United

    States nuclear programs; potential vulnerabilities of the United States and its allies to military
                                        ,
    attack; and plans for possible retaliation in response to a"-foreign attack. The unauthorized

    disclosure of these classified documents could put at risk the national security of the United States,

    foreign relations, the safety of the United States military, and human sources and the continued

    viability of sensitive intelligence collection methods.

            4.     At 12:00 p.m. on January 20, 2021 , TRUMP ceased to be president. As he departed

    the White House, TRUMP caused scores of boxes, many of which contained classified documents,

    to be transported to The Mar-a-Lago Club in Palm Beach, Florida, where he maintained his

    residence. TRUMP was not authorized to possess or retain those classified documents.

            5.     The Mar-a-Lago Club was an active social club, which, between January 2021 and

    August 2022, hosted events for tens of thousands of members and guests. After TRUMP's

    presidency, The Mar-a-Lago Club was not an authorized location for the storage, possession,

    review, display, or discussion of classified documents. Nevertheless, TRUMP stored his boxes

    containing classified documents in various locations at The Mar-a-Lago Club-including in a

    ballroom, a bathroom and shower, an office space, his bedroom, and a storage room.

            6.     On two occasions in 2021 , TRUMP showed classified documents to others, as

    follows :




                                                     2
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 4 of 50
                                                                          Page 3 of 49




                   a.     In July 2021, at Trump National Golf Club in Bedminster, New Jersey
                          ("The Bedminster Club"), during an audio-recorded meeting with a writer,
                          a publisher, and two members of his staff, none of whom possessed a
                          security clearance, TRUMP showed and described a "plan of attack" that
                          TRUMP said was prepared for him by the Department of Defense and a
                          senior military official. TRUMP told the individuals that the plan was
                          "highly confidential" and "secret." TRUMP also said, "as president I could
                          have declassified it," and, ''Now I can't, you know, but this is still a secret."

                   b.     In August or September 2021, at The Bedminster Club, TRUMP showed a
                          representative of his political action committee who did not possess a
                          security clearance a classified map related to a military operation and told
                          the representative that he should not be showing it to the representative and
                          that the representative should not get too close.

           7.      On March 30, 2022, the Federal Bureau oflnvestigation ("FBI") opened a criminal

    investigation into the unlawful retention of classified documents at The Mar-a-Lago Club. A

    federal grand jury investigation began the next month. The grand jury issued a subpoena requiring

    TRUMP to turn over all documents with classification markings. TRUMP endeavored to obstruct

    the FBI and grand jury investigations and conceal his continued retention of classified documents

    by, among other things:

                  a.      suggesting that his attorney falsely represent to the FBI and grand jury that
                          TRUMP did not have documents called for by the grand jury subpoena;

                  b.      directing defendant WALTINE NAUTA to move boxes of documents to
                          conceal them from TRUMP's attorney, the FBI, and the grand jury;

                  c.      suggesting that his attorney hide or destroy documents called for by the
                          grand jury subpoena;

                  d.      providing to the FBI and grand jury just some of the documents called for
                          by the grand jury subpoena, while claiming that he was cooperating fully;
                          and

                  e.      causing a certification to be submitted to the FBI and grand jury falsely
                          representing that all documents called for by the grand jury subpoena had
                          been produced-while knowing that, in fact, not all such documents had
                          been produced.




                                                     3
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 5 of 50
                                                                          Page 4 of 49




           8.      As a result ofTRUMP's retention of classified documents after his presidency and

    refusal to return them, hundreds of classified documents were not recovered by the United States

    government until 2022, as follows:

                   a.     On January 17, nearly one year after TRUMP left office, and after months
                          of demands by the National Archives and Records Administration for
                          TRUMP to provide all missing presidential records, TRUMP provided
                          only 15 boxes, which contained 197 documents with classification
                          markings.

                  b.      On June 3, in response to a grand jury subpoena demanding the production
                          of all documents with classification markings, TRUMP's attorney provided
                          to the FBI 38 more documents with classification markings.

                  c.      On August 8, pursuant to a court-authorized search warrant, the FBI
                          recovered from TRUMP's office and a storage room at The Mar-a-Lago
                          Club 102 more documents with classification markings.

                                      TRUMP's Co-Conspirator

           9.     Defendant NAUTA was a member of the United States Navy stationed as a valet

    in the White House during TRUMP's presidency. Beginning in August 2021, NAUTA became

    an executive assistant in The Office of Donald J. Trump and served as TRUMP's personal aide or

    "body man." NAUTA reported to TRUMP, worked closely with TRUMP, and traveled with

    TRUMP.

                                         The Mar-a-Lago Club

           10.    The Mar-a-Lago Club was located on South Ocean Boulevard in Palm Beach,

    Florida, and included TRUMP's residence, more than 25 guest rooms, two ballrooms, a spa, a gift

    store, exercise facilities, office space, and an outdoor pool and patio. As of January 2021, The

    Mar-a-Lago Club had hundreds of members and was staffed by more than 150 full-time, part-time,

    and temporary employees.




                                                   4
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 6 of 50
                                                                          Page 5 of 49




           11.     Between January 2021 and August 2022, The Mar-a-Lago Club hosted more than

    150 social events, including weddings, movie premieres, and fundraisers that together drew tens

    of thousands of guests.

           12.     The United States Secret Service (the "Secret Service") provided protection

    services to TRUMP and his family after he left office, including at The Mar-a-Lago Club, but it

    was not responsible for the protection of TRUMP's boxes or their contents. TRUMP did not

    inform the Secret Service that he was storing boxes containing classified documents at The Mar-

    a-Lago Club.

                                         Classified Information

           13.     National security information was information owned by, produced by, produced

    for, and under the control of the United States government. Pursuant to Executive Order 12958,

    signed on April 17, 1995, as amended by Executive Order 13292 on March 25, 2003, and

    Executive Order 13526 on December 29, 2009, national security information was classified as

    "TOP SECRET," "SECRET," or "CONFIDENTIAL," as follows:

                   a.     Information was classified as TOP SECRET if the unauthorized disclosure
                          of that information reasonably could be expected to cause exceptionally
                          grave damage to the national security that the original classification
                          authority was able to identify or describe.

                   b.     Information was classified as SECRET if the unauthorized disclosure of that
                          information reasonably could be expected to cause serious damage to the
                          national security that the original classification authority was able to
                          identify or describe.

                   c.     Information was classified as CONFIDENTIAL if the unauthorized
                          disclosure of that information reasonably could be expected to cause
                          damage to the national security that the original classification authority was
                          able to identify or describe.




                                                    5
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 7 of 50
                                                                          Page 6 of 49




            14.    The classification marking "NOFORN" stood for ''Not Releasable to Foreign

    Nationals" and denoted that dissemination of that information was limited to United States

    persons.

            15.    Classified information related to intelligence sources, methods, and analytical

    processes was designated as Sensitive Compartmented Information ("SCI"). SCI was to be

    processed, stored, used, or discussed in an accredited Sensitive Compartmented Information

    Facility ("SCIF"), and only individuals with the appropriate security clearance and additional SCI

    permissions were authorized to have access to such national security information.

           16.     When the vulnerability of, or threat to, specific classified information was

    exceptional, and the normal criteria for determining eligibility for access to classified information

   were insufficient to protect the information from unauthorized disclosure, the United States could

    establish Special Access Programs ("SAPs") to further protect the classified information. The

    number of these programs was to be kept to an absolute minimum and limited to programs in

   which the number of persons who ordinarily would have access would be reasonably small and

   commensurate with the objective of providing enhanced protection for the information involved.

   Only individuals with the appropriate security clearance and additional SAP permissions were

   authorized to have access to such national security information, which was subject to enhanced

   handling and storage requirements.

           17.     Pursuant to Executive Order 13526, information classified at any level could be

   lawfully accessed only by persons determined by an appropriate United States government official

   to be eligible for access to classified information and who had signed an approved non-disclosure

   agreement, who received a security clearance, and who had a "need-to-know" the classified




                                                     6
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 8 of 50
                                                                          Page 7 of 49




    information. After his presidency, TRUMP was not authorized to possess or retain classified

    documents.

            18.    Executive Order 13526 provided that a former president could obtain a waiver of
                                                         J
    the "need-to-know" requirement, if the agency head or senior agency official of the agency that

    originated the classified information: (1) determined in writing that access was consistent with the

    interest of national security and (2) took appropriate steps to protect classified information from

    unauthorized disclosure or compromise and ensured that the information was safeguarded in a

    manner consistent with the order. TRUMP did not obtain any such waiver after his presidency.

                      The Executive Branch Departments and Agencies Whose
                    Classified Documents TRUMP Retained After His Presidency

            19.    As part of his official duties as president, TRUMP received intelligence briefings

    from high-level United States government officials, including briefings from the Director of the

    Central Intelligence Agency, the Chairman of the Joint Chiefs of Staff, senior White House

    officials, and a designated briefer. He regularly received a collection of classified intelligence

    from the United States Intelligence Community ("USIC") known as the "President's Daily Brief."

           20.     The USIC's mission was to collect, analyze, and deliver foreign intelligence and

    counterintelligence information to America's leaders, including the president, policymakers, law

    enforcement, and the military, so they could make sound decisions to protec, the United States.

    The USIC consisted of United States executive branch departments and agencies responsible for

    the conduct of foreign relations and the protection of national security.

           21.     After his presidency, TRUMP retained classified documents originated by, or

    implicating the equities of, multiple USIC members and other executive branch departments and

    agencies, including the following:




                                                     7
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 9 of 50
                                                                          Page 8 of 49




                            I

               a.    The Central Intelligence Agency ("CIA"). CIA was responsible for
                     providing intelligence on foreign countries and global issues to the president
                     and other policymakers to help them make national security decisions.

               b.    The Department of Defense ("DoD"). DoD was responsible for providing
                     the military forces needed to deter war and ensure national security. Some
                     of the executive branch agencies comprising the USIC were within DoD.

               c.    The National Security Agency. The National Security Agency was a
                     combat support agency within DoD and a member of the USIC responsible
                     for foreign signals intelligence and cybersecurity. This included collecting,
                     processing, and disseminating to United States policymakers and military
                     leaders foreign intelligence derived from communications and information
                     systems; protecting national security systems; and enabling computer
                     network operations.

               d.    The National Geospatial Intelligence Agency. The National Geospatial
                     Intelligence Agency was a combat support agency within DoD responsible
                     for the exploitation and analysis of imagery, imagery intelligence, and
                     geospatial information in support of the national security objectives of the
                     United States and the geospatial intelligence requirements of DoD, the
                     Department of State, and other federal agencies.

               e.    The National Reconnaissance Office. The National Reconnaissance
                     Office was an agency within DoD responsible for developing, acquiring,
                     launching, and operating space-based surveillance and reconnaissance
                     systems that collected and delivered intelligence to enhance national
                     security.

               f.    The Department of Energy. The Department of Energy was responsible
                     for maintaining a safe, secure, and effective nuclear deterrent to protect
                     national security, including ensuring the effectiveness of the United States
                     nuclear weapons stockpile without nuclear explosive testing.

                     The Department of State and Bureau of Intelligence and Research. The
                     Department of State was responsible for protecting and promoting United
                     States security, prosperity, and democratic values. Within the Department
                     of State, the Bureau oflntelligence and Research was a member of the USIC
                     and responsible for providing intelligence to inform diplomacy and support
                     United States diplomats.




                                               8
Case 9:23-cr-80101-AMC
         Case 1:23-cr-10159-IT
                         Document
                               Document
                                  3 Entered
                                        77-3onFiled
                                               FLSD07/17/23
                                                    Docket 06/08/2023
                                                            Page 10 of 50
                                                                       Page 9 of 49




                       TRUMP's Public Statements on Classified Information

          22.     As a candidate for President of the United States, TRUMP made the following

   public statements, among others, about classified information:

                  a.     On August 18, 2016, TRUMP stated, "In my administration I'm going to
                         enforce all laws concerning the protection of classified information. No one
                         will be above the law."

                  b.     On September 6, 2016, TRUMP stated, "We also need to fight this battle
                         by collecting intelligence and then protecting, protecting our classified
                         secrets. . . . We can't have someone in the Oval Office who doesn't
                         understand the meaning of the word confidential or classified."

                  c.     On September 7, 2016, TRUMP stated, "[O]ne of the first things we must
                         do is to enforce all classification rules and to enforce all laws relating to the
                         handling of classified information."

                  d.     On September 19, 2016, TRUMP stated, "We also need the best protection
                         of classified information."

                  e.     On November 3, 2016, TRUMP stated, "Service members here in North
                         Carolina have risked their lives to acquire classified intelligence to protect
                         our country."

          23.    As President of the United States, on July 26, 2018, TRUMP issued the following

   statement about classified information:

                 As the head of the executive branch and Commander in Chief, I have
                 a unique, Constitutional responsibility to protect the Nation's
                 classified information, including by controlling access to it. ...
                 More broadly, the issue of [a former executive branch official's]
                 security clearance raises larger questions about the practice of
                 former officials maintaining access to our Nation's most sensitive
                 secrets long after their time in Government has ended. Such access
                 is particularly inappropriate when former officials have transitioned
                 into highly partisan positions and seek to use real or perceived
                 access to sensitive information to validate their political attacks.
                 Any access granted to our Nation's secrets should be in furtherance
                 of national, not personal, interests.




                                                    9
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 11 of Page
                                                                          50 10 of 49




                 TRUMP's Retention of Classified Documents After His Presidency

           24.     In January 2021, as he was preparing to leave the White House, TRUMP and his

    White House staff, including NAUTA, packed items, including some of TRUMP's boxes.

    TRUMP was personally involved in this process. TRUMP caused his boxes, containing hundreds

    of classified documents, to be transported from the White House to The Mar-a-Lago Club.

           25.     From January through March 15, 2021, some of TRUMP's boxes were stored in

    The Mar-a-Lago Club's White and Gold Ballroom, in which events and gatherings took place.

    TRUMP' s boxes were for a time stacked on the ballroom's stage, as depicted in the photograph

    below (redacted to obscure an individual's identity).




           26.     In March 2021, NAUTA and others moved some of TRUMP's boxes from the

    White and Gold Ballroom to the business center at The Mar-a-Lago Club.
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 12 of Page
                                                                          50 11 of 49




           27.    On April 5, 2021, an employee of The Office of Donald J. Trump ("Trump

    Employee l "} texted another employee of that office ("Trump Employee 2") to ask whether

    TRUMP' s boxes could be moved out of the business center to make room for staff to use it as an

    office. Trump Employee 2 replied, "Woah!! Ok so potus specifically asked Walt for those boxes

    to be in the business center because they are his 'papers."' Later that day, Trump Employee 1 and

    Trump Employee 2 exchanged the following text messages:

                  Trump Employee 2:

                          We can definitely make it work if we move his
                          papers into the lake room?

                  Trump Employee 1:

                          There is still a little room in the shower where his
                          other stuff is. Is it only his papers he cares about?
                          Theres some other stuff in there that are not papers.
                          Could that go to storage? Or does he want everything
                          in there on property

                  Trump Employee 2:

                          Yes - anything that's not the beautiful mind paper
                          boxes can definitely go to storage. Want to take a
                          look at the space and start moving tomorrow AM?

           28.    After the text exchange between Trump Employee 1 and Trump Employee 2, in

    April 2021, some of TRUMP's boxes were moved from the business center to a bathroom and

    shower in The Mar-a-Lago Club's Lake Room, as depicted in the photograph below.




                                                   11
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 13 of Page
                                                                          50 12 of 49




           29.     In May 2021, TRUMP directed that a storage room on the ground floor of The

    Mar-a-Lago Club (the "Storage Room") be cleaned out so that it could be used to store his boxes.

    The hallway leading to the Storage Room could be reached from multiple outside entrances,

    including one accessible from The Mar-a-Lago Club pool patio through a doorway that was often

    kept open. The Storage Room was near the liquor supply closet, linen room, lock shop, and various

    other rooms.

           30.     On June 24, 2021, TRUMP's boxes that were in the Lake Room were moved to

    the Storage Room. After the move, there were more than 80 boxes in the Storage Room, as

    depicted in the photographs below.




                                                   12
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 14 of Page
                                                                          50 13 of 49




           31.    On December 7, 2021, NAUTA found several ofTRUMP's boxes fallen and their

    contents spilled onto the floor of the Storage Room, including a document marked "SECRET//REL


                                                 13
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 15 of Page
                                                                          50 14 of 49




    TO USA, FVEY ," which denoted that the information in the document was releasable only to the

    Five Eyes intelligence alliance consisting of Australia, Canada, New Zealand, the United

    Kingdom, and the United States. NAUTA texted Trump Employee 2, "I opened the door and

    found this ... " NAUTA also attached two photographs he took of the spill. Trump Employee 2

    replied, "Oh no oh no," and "I'm sorry potus had my phone." One of the photographs NAUTA

    texted to Trump Employee 2 is depicted below with the visible classified information redacted.

    TRUMP's unlawful retention of this document is charged in Count 8 of this Indictment.




                 TRUMP's Disclosures of Classified Information in Private Meetings

           32.     In May 2021 , TRUMP caused some of his boxes to be brought to his summer

    residence at The Bedminster Club. Like The Mar-a-Lago Club, after TRUMP's presidency, The

    Bedminster Club was not an authorized location for the storage, possession, review, display, or

    discussion of classified documents.



                                                  14
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 16 of Page
                                                                          50 15 of 49




           33.     On July 21, 2021, when he was no longer president, TRUMP gave an interview in

    his office at The Bedminster Club to a writer and a publisher in connection with a then-forthcoming

    book. Two members of TRUMP's staff also attended the interview, which was recorded with

    TRUMP's knowledge and consent. Before the interview, the media had published reports that, at

    the end of TRUMP's term as president, a senior military official (the "Senior Military Official")

    purportedly feared that TRUMP might order an attack on Country A and that the Senior Military

    Official advised TRUMP against doing so.

           34.     Upon greeting the writer, publisher, and his two staff members, TRUMP stated,

    "Look what I found, this was [the Senior Military Official's] plan of attack, read it and just show

    ... it's interesting." Later in the interview, TRUMP engaged in the following exchange:

                   TRUMP:         Well, with [the Senior Military Official]-uh, let me
                                  see that, I'll show you an example. He said that I
                                  wanted to attack [Country A]. Isn't it amazing? I
                                  have a big pile of papers, this thing just came up.
                                  Look. This was him. They presented me this-this
                                  is off the record, but-they presented me this. This
                                  was him. This was the Defense Department and him.

                   WRITER:        Wow.

                   TRUMP:         We looked at some. This was him. This wasn't done
                                  by me, this was him. All sorts of stuff-pages long,
                                  look.

                   STAFFER:       Mm.

                   TRUMP:         Wait a minute, let's see here.

                   STAFFER:       {Laughter] Yeah.

                   TRUMP:         I just found, isn't that amazing? This totally wins my
                                  case, you know.

                   STAFFER:       Mm-hm.

                   TRUMP:         Except it is like, highly confidential.


                                                     15
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 17 of Page
                                                                          50 16 of 49




                  STAFFER:       Yeah. [Laughter]

                  TRUMP:         Secret. This is secret information. Look, look at this.
                                 You attack, and-

                                                   •••
                  TRUMP:         By the way. Isn't that incredible?

                  STAFFER:       Yeah.

                  TRUMP:         I was just thinking, because we were talking about it.
                                 And you know, he said, "he wanted to attack
                                 [Country A], and what ... "

                  STAFFER:       y OU did.

                  TRUMP:         This was done by the military and given to me. Uh,
                                 I think we can probably, right?

                  STAFFER:       I don't know, we'll, we'll have to see. Yeah, we'll
                                 have to try to--

                  TRUMP:         Declassify it.

                  STAFFER:       -figure out a-yeah.

                  TRUMP:         See as president I could have declassified it.

                  STAFFER:       Yeah. [Laughter]

                  TRUMP:         Now I can't, you know, but this is still a secret.

                  STAFFER:       Yeah. {Laughter] Now we have a problem.

                  TRUMP:         Isn't that interesting?

   At the time of this exchange, the writer, the publisher, and TRUMP's two staff members did not

   have security clearances or any need-to-know any classified information about a plan of attack on

   Country A.

          35.     In August or September 2021, when he was no longer president, TRUMP met in

   his office at The Bedminster Club with a representative of his political action committee (the "PAC



                                                   16
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 18 of Page
                                                                          50 17 of 49




    Representative"). During the meeting, TRUMP commented that an ongoing military operation in

    Country B was not going well. TRUMP showed the PAC Representative a classified map of

    Country Band told the PAC Representative that he should not be showing the map to the PAC

    Representative and to not get too close. The PAC Representative did not have a security clearance

    or any need-to-know classified information about the military operation.

           36.     On February 16, 2017, four years before TRUMP's disclosures of classified

    information set forth above, TRUMP said at a press conference:

                   The first thing I thought of when I heard about it is, how does the
                   press get this information that's classified? How do they do it? You
                   know why? Because it's an illegal process, and the press should be
                   ashamed of themselves. But more importantly, the people that gave
                   out the information to the press should be ashamed of themselves.
                   Really ashamed.

                         TRUMP's Production of 15 Cardboard Boxes to the
                           National Archives and Records Administration

           37.     Beginning in May 2021, the National Archives and Records Administration

    (''NARA"), which was responsible for archiving presidential records, repeatedly demanded that

    TRUMP turn over presidential records that he had kept after his presidency.           On multiple

    occasions, beginning in June, NARA warned TRUMP through his representatives that ifhe did

    not comply, it would refer the matter of the missing records to the Department of Justice.

           38.     Between November 2021 and January 2022, NAUTA and Trump Employee 2-at

    TRUMP's direction-brought boxes from the Storage Room to TRUMP's residence for TRUMP

    to review.

           39.     On November 12, 2021, Trump Employee 2 provided TRUMP a photograph of his

    boxes in the Storage Room by taping it to one of the boxes that Trump Employee 2 had placed in

    TRUMP's residence. Trump Employee 2 provided TRUMP the photograph so that TRUMP



                                                    17
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 19 of Page
                                                                          50 18 of 49




    could see how many of his boxes were stored in the Storage Room. The photograph, shown below,

    depicted a wall of the Storage Room against which dozens of TRUMP' s boxes were stacked.




           40.    On November 17, 2021, NAUTA texted Trump Employee 2 about the photograph

    Trump Employee 2 had provided to TRUMP, stating, "He mentioned about a picture of the

    'boxes' he wants me to see it?" Trump Employee 2 replied, "Calling you shortly."

           41.    On November 25, 2021, Trump Employee 2 texted NAUTA about TRUMP's

    review of the contents of his boxes, asking, "Has he mentioned boxes to you? I delivered some,

    but I think he may need more. Could you ask if he'd like more in pine hall?" Pine Hall was an

   entry room in TRUMP's residence. NAUTA replied in three successive text messages:

                  Nothing about boxes yet

                  He has one he's working on in pine hall

                  Knocked out 2 boxes yesterday




                                                  18
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 20 of Page
                                                                          50 19 of 49




           42.     On November 29, 2021, Trump Employee 2 texted NAUTA, asking, ''Next you are

    on property (no rush) could you help me bring 4 more boxes up?" NAUTA replied, "Yes!! Of

    course."

           43.     On December 29, 2021, Trump Employee 2 texted a TRUMP representative who

    was in contact with NARA ("Trump Representative 1"), "box answer will be wrenched out of him

    today, promise!" The next day, Trump Representative 1 replied in two successive text messages:

                   Hey- Just checking on Boxes ...

                   would love to have a number to them today

    Trump Employee 2 spoke to TRUMP and then responded a few hours later in two successive text

    messages:

                   12

                   Is his number

           44.     On January 13, 2022, NAUTA texted Trump Employee 2 about TRUMP's

    ''tracking'' of boxes, stating, "He's tracking the boxes, more to follow today on whether he wants

    to go through more today or tomorrow." Trump Employee 2 replied, "Thank you!"

           45.     On January 15, 2022, NAUTA sent Trump Employee 2 four successive text

    messages:

                   One thing he asked

                  Was for new covers for the boxes, for Monday m.

                  Morning

                  •can we get new box covers before giving these to them on
                  Monday? They have too much writing on them ..l marked too much

    Trump Employee 2 replied, "Yes, I will get that!"




                                                     19
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 21 of Page
                                                                          50 20 of 49




           46.     On January 17, 2022, Trump Employee 2 and NAUTA gathered 15 boxes from

    TRUMP's residence, loaded the boxes in NAUTA's car, and took them to a commercial truck for

    delivery to NARA.

           47.     When .interviewed by the FBI in May 2022 regarding the location and movement

    of boxes before the production to NARA, NAUTA made false and misleading statements as set

    forth in Count 38 of this Indictment, including:

                   a.     falsely stating that he was not aware of TRUMP's boxes being brought to
                          TRUMP's residence for his review before TRUMP provided 15 boxes to
                          NARA in January 2022;

                   b.     falsely stating that he did not know how the boxes that he and Trump
                          Employee 2 brought from TRUMP's residence to the commercial truck for
                          delivery to NARA on January 17, 2022, had gotten to the residence; and

                   c.     when asked whether he knew where TRUMP's boxes had been stored
                          before they were in TRUMP's residence and whether they had been in a
                          secure or locked location, NAUTA falsely responded, "I wish, I wish I
                          could tell you. I don't know. I don't- I honestly just don't know."

           48.     When the 15 boxes that TRUMP had provided reached NARA in January 2022,

    NARA reviewed the contents and determined that 14 of the boxes contained documents with

    classification markings.   Specifically, as the FBI later determined, the boxes contained 197

    documents with classification markings, of which 98 were marked "SECRET," 30 were marked

    "TOP SECRET," and the remainder were marked "CONFIDENTIAL." Some of those documents

    also contained SCI and SAP markings.

           49.     On February 9, 2022, NARA referred the discovery of classified documents in

    TRUMP's boxes to the Department of Justice for investigation.

                               The FBI and Grand Jury Investigations

           50.     On March 30, 2022, the FBI opened a criminal investigation.

           51 .    On April 26, 2022, a federal grand jury opened an investigation.


                                                       20
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 22 of Page
                                                                          50 21 of 49




                                The Defendants' Concealment of Boxes

           52.    On May 11, 2022, the grand jury issued a subpoena (the "May 11 Subpoena") to

    The Office of Donald J. Trump requiring the production of all documents with classification

    markings in the possession, custody, or control of TRUMP or The Office of Donald J. Trump.

    Two attorneys representing TRUMP ("Trump Attorney 1" and "Trump Attorney 2") informed

    TRUMP of the May 11 Subpoena, and he authorized Trump Attorney 1 to accept service.

           53.    On May 22, 2022, NAUTA entered the Storage Room at 3:47 p.m. and left

    approximately 34 minutes later, carrying one ofTRUMP's boxes.

           54.    On May 23, 2022, TRUMP met with Trump Attorney 1 and Trump Attorney 2 at

    The Mar-a-Lago Club to discuss the response to the May 11 Subpoena. Trump Attorney 1 and

    Trump Attorney 2 told TRUMP that they needed to search for documents that would be responsive

    to the subpoena and provide a certification that there had been compliance with the subpoena.

    TRUMP, in sum and substance, made the following statements, among others, as memorialized

    by Trump Attorney 1:

                  a.       I don't want anybody looking, I don't want anybody looking through my
                           boxes, I really don't, I don't want you looking through my boxes.

                  b.       Well what if we, what happens if we just don't respond at all or don't play
                           ball with them?

                  c.       Wouldn't it be better if we just told them we don't have anything here?

                  d.       Well look isn't it better if there are no documents?

           55.    While meeting with Trump Attorney 1 and Trump Attorney 2 on May 23, TRUMP,

    in sum and substance, told the following story, as memorialized by Trump Attorney 1:

                  [Attorney], he was great, he did a great job. You know what? He
                  said, he said that it - that it was him. That he was the one who
                  deleted all of her emails, the 30,000 emails, because they basically
                  dealt with her scheduling and her going to the gym and her having


                                                    21
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 23 of Page
                                                                          50 22 of 49




                  beauty appointments. And he was great. And he, so she didn't get
                  in any trouble because he said that he was the one who deleted them.

    TRUMP related the story more than once that day.

           56.    On May 23, TRUMP also confirmed his understanding with Trump Attorney 1 that

    Trump Attorney 1 would return to The Mar-a-Lago Club on June 2 to search for any documents

    with classification markings to produce in response to the May 11 Subpoena. Trump Attorney 1'

    made it clear to TRUMP that Trump Attorney 1 would conduct the search for responsive

    documents by looking through TRUMP's boxes that had been transported from the White House

   and remained in storage at The Mar-a-Lago Club. TRUMP indicated that he wanted to be at The

   Mar-a-Lago Club when Trump Attorney 1 returned to review his boxes on June 2, and that

   TRUMP would change his summer travel plans to do so. TRUMP told Trump Attorney 2 that

   Trump Attorney 2 did not need to be present for the review of boxes.

          57.     After meeting with Trump Attorney 1 and Trump Attorney 2 on May 23, TRUMP

   delayed his departure from The Mar-a-Lago Club to The Bedminster Club for the summer so that

   he would be present at The Mar-a-Lago Club on June 2, when Trump Attorney 1 returned to review

   the boxes.

          58.     Between TRUMP's May 23 meeting with Trump Attorney 1 and Trump Attorney

   2 to discuss the May 11 Subpoena, and June 2, when Trump Attorney 1 returned to The Mar-a-

   Lago Club to review the boxes in the Storage Room, NAUTA removed-at TRUMP' s direction-

   a total of approximately 64 boxes from the Storage Room and brought them to TRUMP's

   residence, as set forth below:

                  a.      On May 24, 2022, between 5 :30 p.m. and 5 :38 p.m., NAUTA removed three
                          boxes from the Storage Room.




                                                  22
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 24 of Page
                                                                          50 23 of 49




                  b.      On May 30, 2022, at 9:08 a.m., TRUMP and NAUTA spoke by phone for
                          approximately 30 seconds. Between 10:02 a.m. and 11 :51 a.m., NAUTA
                          removed a total of approximately 50 boxes from the Storage Room.

                  c.      On May 30, 2022, at 12:33 p.m., a Trump family member texted NAUTA:

                                    Good afternoon Walt,
                                    Happy Memorial Day!

                                    I saw you put boxes to Potus room. Just FYI and I
                                    will tell him as well:
                                    Not sure how many he wants to take on Friday on the
                                    plane. We will NOT have a room for them. Plane will
                                    be full with luggage.
                                    Thank you!

                         NAUTA replied:

                                    Good Afternoon Ma'am [Smiley Face Emoji]
                                    Thank you so much.

                                    I think he wanted to pick from them. I don't imagine
                                    him wanting to take the boxes.

                                    He told me to put them in the room and that he was
                                    going to talk to you about them.

                  d.     On June 1, 2022, beginning at 12:52 p.m., NAUTA removed approximately
                         11 boxes from the Storage Room.

           59.    On June 1, 2022, TRUMP spoke with Trump Attorney 1 by phone and asked

    whether Trump Attorney 1 was coming to The Mar-a-Lago Club the next day and for exactly what

    purpose. Trump Attorney 1 reminded TRUMP that Trump Attorney 1 was going to review the

    boxes that had been transported from the White House and remained in storage at The Mar-a-Lago

   Club so that Trump Attorney 1 could have a custodian of records certify that the May 11 subpoena

    had been complied with fully.




                                                     23
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 25 of Page
                                                                          50 24 of 49




            60.    On June 2, 2022, the day that Trump Attorney 1 was scheduled to review

    TRUMP's boxes in the Storage Room, TRUMP spoke with NAUTA on the phone at 9:29 a.m.

    for approximately 24 seconds.

            61.    Later that day, between 12:33 p.m. and 12:52 p.m., NAUTA and an employee of

    The Mar-a-Lago Club moved approximately 30 boxes from TRUMP's residence to the Storage

    Room.

            62.    In sum, between May 23, 2022, and June 2, 2022, before Trump Attorney l ' s

    review of TRUMP's boxes in the Storage Room, NAUTA-at TRUMP's direction-moved

    approximately 64 boxes from the Storage Room to TRUMP's residence and brought to the Storage

    Room only approximately 30 boxes. Neither TRUMP nor NAUT A informed Trump Attorney 1

    of this information.

                           The False Certification to the FBI and the Grand Jury

            63.    On the afternoon of June 2, 2022, as TRUMP had been informed, Trump

   Attorney 1 arrived at The Mar-a-Lago Club to review TRUMP's boxes to look for documents

   with classification markings in response to the May 11 Subpoena. TRUMP met with Trump

   Attorney 1 before Trump Attorney 1 conducted the review. NAUTA escorted Trump Attorney 1

   to the Storage Room.

            64.    Between 3:53 p.m. and 6:23 p.m., Trump Attorney 1 reviewed the contents of

   TRUMP's boxes in the Storage Room.              Trump Attorney 1 located 38 documents with

   classification markings inside the boxes, which Trump Attorney 1 removed and placed in a

   Redweld folder. Trump Attorney 1 contacted NAUTA and asked him to bring clear duct tape to

   the Storage Room, which NAUTA did. Trump Attorney 1 used the clear duct tape to seal the

   Redweld folder with the documents with classification markings inside.




                                                    24
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 26 of Page
                                                                          50 25 of 49




           65.    After Trump Attorney 1 finished sealing the Redweld folder containing the

    documents with classification markings that he had found inside TRUMP's boxes, NAUTA took

    Trump Attorney 1 to a dining room in The Mar-a-Lago Club to meet with TRUMP. After Trump

    Attorney 1 confirmed that he was finished with his search of the Storage Room, TRUMP asked,

    "Did you find anything? . . . Is it bad? Good?"

           66.    TRUMP and Trump Attorney 1 then discussed what to do with the Redweld folder

    containing documents with classification markings and whether Trump Attorney 1 should bring

    them to his hotel room and put them in a safe there. During that conversation, TRUMP made a

    plucking motion, as memorialized by Trump Attorney 1:

                  He made a funny motion as though-well okay why don't you take
                  them with you to your hotel room and if there's anything really bad
                  in there, like, you know, pluck it out. And that was the motion that
                  he made. He didn't say that.

           67.    That evening, Trump Attorney 1 contacted the Department of Justice and requested

    that an FBI agent meet him at The Mar-a-Lago Club the next day, June 3, so that he could turn

   over the documents responsive to the May 11 Subpoena.

           68.    Also that evening, Trump Attorney 1 contacted another TRUMP attorney ("Trump

   Attorney 3") and asked her if she would come to The Mar-a-Lago Club the next morning to act as

   a custodian of records and sign a certification regarding the search for documents with

   classification markings in response to the May 11 Subpoena. Trump Attorney 3, who had no role

   in the review ofTRUMP's boxes in the Storage Room, agreed.

           69.    The next day, on June 3, 2022, at Trump Attorney 1's request, Trump Attorney 3

   signed a certification as the custodian of records for The Office of Donald J. Trump and took it to

   The Mar-a-Lago Club to provide it to the Department of Justice and FBI. In the certification,

   Trump Attorney 3-who performed no search of TRUMP's boxes, had not reviewed the May 11



                                                   25
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 27 of Page
                                                                          50 26 of 49




    Subpoena, and had not reviewed the contents of the Redweld folder-stated, among other things,

    that "[b ]ased upon the information that [had] been provided to" her:

                   a.     "A diligent search was conducted of the boxes that were moved from the
                          White House to Florida";

                   b.     "This search was conducted after receipt of the subpoena, in order to locate
                          any and all documents that are responsive to the subpoena"; and

                   c.     "Any and all responsive documents accompany this certification."

           70.     These statements were false because, among other reasons, TRUMP had directed

    NAUTA to move boxes before Trump Attorney l's June 2 review, so that many boxes were not

    searched and many documents responsive to the May 11 Subpoena could not be found-and in

    fact were not found-by Trump Attorney 1.

           71.     Shortly after Trump Attorney 3 executed the false certification, on June 3, 2022,

    Trump Attorney 1 and Trump Attorney 3 met at The Mar-a-Lago Club with personnel from the

    Department of Justice and FBI. Trump Attorney 1 and Trump Attorney 3 turned over the Redweld

    folder containing documents with classification markings, as well as the false certification signed

    by Trump Attorney 3 as custodian ofrecords. TRUMP, who had delayed his departure from The

    Mar-a-Lago Club, joined Trump Attorney 1 and Trump Attorney 3 for some of the meeting.

    TRUMP claimed to the Department of Justice and FBI that he was "an open book."

           72.     Earlier that same day, NAUTA and others loaded several ofTRUMP's boxes along

    with other items on aircraft that flew TRUMP and his family north for the summer.

                        The Court-Authorized Search of The Mar-a-Lago Club

           73.     In July 2022, the FBI and grand jury obtained and reviewed surveillance video from

   The Mar-a-Lago Club showing the movement of boxes set forth above.




                                                   26
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 28 of Page
                                                                          50 27 of 49




           74.     On August 8, 2022, the FBI executed a court-authorized search warrant at The Mar-

   a-Lago Club. The search warrant authorized the FBI to search for and seize, among other things,

   all documents with classification markings.

           75.     During the execution of the warrant at The Mar-a-Lago Club, the FBI seized 102

    documents with classification markings in TRUMP' s office and the Storage Room, as follows:

                                              Number of                      Classification
                 Location
                                              Documents                        Markings
                                                                     Top Secret (6)
     TRUMP' s Office                              27                 Secret (18)
                                                                     Confidential (3)
                                                                     Top Secret (11)
     Storage Room                                 75                 Secret (36)
                                                                     Confidential (28)




                                                  27
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 29 of Page
                                                                          50 28 of 49




                                             COUNTS 1-31
                           Willful Retention of National Defense Information
                                          (18 U.S.C. § 793(e))

           76.      The General Allegations of this Indictment are re-alleged and fully incorporated

    here by reference.

           77.      On or about the dates set forth in the table below, in Palm Beach County, in the

    Southern District of Florida, and elsewhere, the defendant,

                                          DONALD J. TRUMP,

   having unauthorized possession of, access to, and control over documents relating to the national

   defense, did willfully retain the documents and fail to deliver them to the officer and employee of

   the United States entitled to receive them; that is-TRUMP, without authorization, retained at

   The Mar-a-Lago Club documents relating to the national defense, including the following:


     Count               Date of Offense/ Classification Marking / Document Description

                 January 20, 2021 -August 8, 2022

                 TOP SECRET//NOFORN//SPECIAL HANDLING
       1
                 Document dated May 3, 2018, concerning White House intelligence briefing related
                 to various foreign countries

                 January 20, 2021 - August 8, 2022

                 TOP SECRET//SI//NOFORN//SPECIAL HANDLING
       2
                 Document dated May 9, 2018, concerning White House intelligence briefing related
                 to various foreign countries

                 January 20, 2021 - August 8, 2022

                 TOP SECRET//SI//NOFORN//FISA
       3
                 Undated document concerning military capabilities of a foreign country and the
                 United States, with handwritten annotation in black marker




                                                     28
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 30 of Page
                                                                          50 29 of 49




            January 20, 2021-August 8, 2022

            TOP SECRET//SPECIAL HANDLING
      4
            Document dated May 6, 2019, concerning White House intelligence briefing related
            to foreign countries, including military activities and planning of foreign countries

            January 20, 2021 - August 8, 2022

       5    TOP SECRET//[redacted]/[redacted]//ORCON/NOFORN

            Document dated June 2020 concerning nuclear capabilities of a foreign country

            January 20, 2021 - August 8, 2022

            TOP SECRET//SPECIAL HANDLING
      6
            Document dated June 4, 2020, concerning White House intelligence briefing related
            to various foreign countries

            January 20, 2021 - August 8, 2022

            SECRET//NOFORN
      7
            Document dated October 21, 2018, concerning communications with a leader of a
            foreign country

            January 20, 2021 -August 8, 2022

            SECRET//REL TO USA, FVEY
      8
            Document dated October 4, 2019, concerning military capabilities of a foreign
            country

            January 20, 2021 - August 8, 2022

      9     TOP SECRET//[redacted]/[redacted]//ORCON/NOFORN/FISA

            Undated document concerning military attacks by a foreign country




                                                29
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 31 of Page
                                                                          50 30 of 49




             January 20, 2021 - August 8, 2022

             TOP SECRET//fK//NOFORN
      10
             Document dated November 2017 concerning military capabilities of a foreign
             country

             January 20, 2021 - August 8, 2022

      11     No marking

             Undated document concerning military contingency planning of the United States

             January 20, 2021 - August 8, 2022

             SECRET//REL TO USA, FVEY
      12

             Pages of undated document concerning projected regional military capabilities of a
             foreign country and the United States

             January 20, 2021 - August 8, 2022

             TOPSECRETllSI/fK//NOFORN
      13
             Undated document concerning military capabilities of a foreign country and the
             United States

             January 20, 2021 - August 8, 2022

             SECRET//ORCON/NOFORN
      14
             Document dated January 2020 concerning military options of a foreign country and
             potential effects on United States interests

             January 20, 2021 - August 8, 2022

      15     SECRETllORCON/NOFORN

            Document dated February 2020 concerning policies in a foreign country




                                                 30
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 32 of Page
                                                                          50 31 of 49




            January 20, 2021 - August 8, 2022

            SECRET//ORCON/NOFORN
      16
            Document dated December 2019 concerning foreign country support of terrorist acts
            against United States interests

            January 20, 2021 - August 8, 2022

      17    TOP SECRET//[redacted]/fK//ORCON/IMCON/NOFORN

            Document dated January 2020 concerning military capabilities of a foreign country

            January 20, 2021 - August 8, 2022

            SECRET//NOFORN
      18
            Document dated March 2020 concerning military operations against United States
            forces and others

            January 20, 2021 - August 8, 2022

      19    SECRET//FORMERLY RESTRICTED DATA

            Undated document concerning nuclear weaponry of the United States

            January 20, 2021 - August 8, 2022

      20    TOP SECRET//[redacted)//ORCON/NOFORN

            Undated document concerning timeline and details of attack in a foreign country

            January 20, 2021 - August 8, 2022

      21    SECRET//NOFORN

            Undated document concerning military capabilities of foreign countries

            January 20, 2021 - June 3, 2022

            TOP SECRET//[redacted]//RSEN/ORCON/NOFORN
     22
            Document dated August 2019 concerning regional military activity of a foreign
            country




                                                31
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 33 of Page
                                                                          50 32 of 49




             January 20, 2021 -June 3, 2022

             TOP SECRET//SPECIAL HANDLING
      23
             Document dated August 30, 2019, concerning White House intelligence briefing
             related to various foreign countries, with handwritten annotation in black marker

             January 20, 2021 - June 3, 2022

      24     TOP SECRET//HCS-P/SIJ/ORCON-USGOV/NOFORN

             Undated document concerning military activity of a foreign country

             January 20, 2021-June 3, 2022

             TOP SECRET//HCS-P/SIJ/ORCON-USGOV/NOFORN
      25
             Document dated October 24, 2019, concerning military activity of foreign countries
             and the United States

             January 20, 2021 -June 3, 2022

             TOP SECRET//[redacted]//ORCON/NOFORN/FISA
      26
             Document dated November 7, 2019, concerning military activity of foreign
             countries and the United States

             January 20, 2021 -June 3, 2022

      27    TOPSECRETllSI/fK//NOFORN

            Document dated November 2019 concerning military activity of foreign countries

            January 20, 2021 -June 3, 2022

            TOP SECRET//SPECIAL HANDLING
      28
            Document dated October 18, 2019, concerning White House intelligence briefing
            related to various foreign countries




                                                32
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 34 of Page
                                                                          50 33 of 49




             January 20, 2021 -June 3, 2022

             TOP SECRET//[redacted]/Sl/fK//ORCON/NOFORN
      29
             Document dated October 18, 2019, concerning military capabilities of a foreign
             country

             January 20, 2021 -June 3, 2022

      30     TOP SECRET//[redacted]//ORCON/NOFORN/FISA

             Document dated October 15, 2019, concerning military acti~ity in a foreign country

             January 20, 2021 - June 3, 2022

      31     TOPSECRET//S1/TK//NOFORN

             Document dated February 2017 concerning military activity of a foreign country

                  All in violation of Title 18, United States Code, Section 793(e).




                                                 33
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 35 of Page
                                                                          50 34 of 49




                                            COUNT32
                                   Conspiracy to Obstruct Justice
                                       (18 U.S.C. § 1512(k))

          78.     The General Allegations of this Indictment are re-alleged and fully incorporated

   here by reference.

                                   The Conspiracy and its Obiects

          79.     From on or about May 11 , 2022, through in or around August 2022, in Palm Beach

   County, in the Southern District of Florida, and elsewhere, the defendants,

                                      DONALD J. TRUMP and
                                       WALTINE NAUTA,

   did knowingly combine, conspire, confederate, and agree with each other and with others known

   and unknown to the grand jury, to engage in misleading conduct toward another person and

   corruptly persuade another person to withhold a record, document, and other object from an official

   proceeding, in violation of 18 U.S.C. § 1512(b)(2)(A), and to corruptly conceal a record,

   document, and other object from an official proceeding, in violation of 18 U.S.C. § 1512(c)(l).

                                   The Purpose of the Conspiracy

          80.     The purpose of the conspiracy was for TRUMP to keep classified documents he

   had taken with him from the White House and to hide and conceal them from a federal grand jury.

                             The Manner and Means of the Conspiracy

          81 .    The manner and means by which the defendants sought to accomplish the objects

   and purpose of the conspiracy included, among other things, the following:

                  a.     Suggesting that Trump Attorney 1 falsely represent to the FBI and grand
                         jury that TRUMP did not have documents called for by the May 11
                         Subpoena;

                 b.      moving boxes of documents to conceal them from Trump Attorney 1, the
                         FBI, and the grand jury;



                                                  34
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 36 of Page
                                                                          50 35 of 49




               c.     suggesting that Trump Attorney 1 hide or destroy documents called for by
                      the May 11 Subpoena;

               d.     providing to the FBI and grand jury just some of the documents called for
                      by the May 11 Subpoena, while TRUMP claimed he was cooperating fully;

               e.     causing a false certification to be submitted to the FBI and grand jury
                      representing that all documents with classification markings had been
                      produced, when in fact they had not; and

               f.     making false and misleading statements to the FBI.

                All in violation of Title 18, United States Code, Section 1512(k).




                                               35
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 37 of Page
                                                                          50 36 of 49




                                            COUNT33
                                 Withholding a Document or Record
                                   (18 U.S.C. §§ 1512(b)(2)(A), 2)

           82.     The General Allegations of this Indictment are re-alleged and fully incorporated

    here by reference.

           83.     From on or about May 11, 2022, through in or around August 2022, in Palm Beach

    County, in the Southern District of Florida, and elsewhere, the defendants,

                                       DONALD J. TRUMP and
                                        WALTINE NAUTA,

    did knowingly engage in misleading conduct toward another person, and knowingly corruptly

    persuade and attempt to persuade another person, with intent to cause and induce any person to

    withhold a record, document, and other object from an official proceeding; that is---(1) TRUMP

    attempted to persuade Trump Attorney 1 to hide and conceal documents from a federal grand jury;

    and (2) TRUMP and NAUT A misled Trump Attorney 1 by moving boxes that contained

    documents with classification markings so that Trump Attorney 1 would not find the documents

    and produce them to a federal grand jury.

             All in violation of Title 18, United States Code, Sections 1512(b)(2)(A) and 2.




                                                   36
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 38 of Page
                                                                          50 37 of 49




                                             COUNT34
                             Corruptly Concealing a Document or Record
                                     (18 U.S.C. §§ 1512(c)(l), 2)

          84.      The General Allegations of this Indictment are re-alleged and fully incorporated

   here by reference.

          85.      From on or about May 11, 2022, through in or around August 2022, in Palm Beach

   County, in the Southern District of Florida, and elsewhere, the defendants,

                                        DONALD J. TRUMP and
                                         WALTINE NAUTA,

   did corruptly conceal a record, document, and other object, and attempted to do so, with the intent

   to impair the object's integrity and availability for use in an official proceeding; that is-TRUMP

   and NAUTA hid and concealed boxes that contained documents with classification markings from

   Trump Attorney 1 so that Trump Attorney 1 would not find the documents and produce them to a

   federal grand jury.

                All in violation of Title 18, United States Code, Sections 1512(c)(l) and 2.




                                                    37
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 39 of Page
                                                                          50 38 of 49




                                            COUNT35
                          Concealing a Document in a Federal Investigation
                                       (18 u.s.c. §§ 1519, 2)

           86.     The General Allegations of this Indictment are re-alleged and fully incorporated

    here by reference.

           87.     From on or about May 11, 2022, through in or around August 2022, in Palm Beach

    County, in the Southern District of Florida, and elsewhere, the defendants,

                                       DONALD J. TRUMP and
                                        WALTINE NAUTA,

    did knowingly conceal, cover up, falsify, and make a false entry in any record, document, and

    tangible object with the intent to impede, obstruct, and influence the investigation and proper

    administration of any matter within the jurisdiction of a department and agency of the United

    States, and in relation to and contemplation of any such matter; that is-during a federal criminal

    investigation being conducted by the FBI, (1) TRUMP and NAUTA hid, concealed, and covered

    up from the FBI TRUMP's continued possession of documents with classification markings at

    The Mar-a-Lago Club; and (2) TRUMP caused a false certification to be submitted to the FBI.

                  All in violation of Title 18, United States Code, Sections 1519 and 2.




                                                   38
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 40 of Page
                                                                          50 39 of 49




                                                COUNT36
                                            Scheme to Conceal
                                        (18 U.S.C. §§ lO0l(a)(l), 2)

           88.      The General Allegations of this Indictment are re-alleged and fully incorporated

    here by reference.

           89.      From on or about May 11, 2022, through in or around August 2022, in Palm Beach

    County, in the Southern District of Florida, and elsewhere, the defendants,

                                         DONALD J. TRUMP and
                                          WALTINE NAUTA,

    in a matter within the jurisdiction of the judicial branch and executive branch of the United States

   government, did knowingly and willfully falsify, conceal, and cover up by any trick, scheme, and

   device a material fact; that is-during a federal grand jury investigation and a federal criminal

    investigation being conducted by the FBI, TRUMP and NAUTA hid and concealed from the grand

   jury and the FBI TRUMP's continued possession of documents with classification markings.

                 All in violation of Title 18, United States Code, Sections lO0l(a)(l) and 2.




                                                     39
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 41 of Page
                                                                          50 40 of 49




                                              COUNT37
                                False Statements and Representations
                                      (18 U.S.C. §§ 1001(a)(2), 2)

          90.     The General Allegations of this Indictment are re-alleged and fully incorporated

   here by reference.

          91.     On or about June 3, 2022, in Palm Beach County, in the Southern District of

   Florida, and elsewhere, the defendant,

                                        DONALD J. TRUMP,

   in a matter within the jurisdiction of the judicial branch and executive branch of the United States

   government, did knowingly and willfully make and cause to be made a materially false, fictitious,

   and fraudulent statement and representation; that is-during a federal grand jury investigation and

   a federal criminal investigation being conducted by the FBI, TRUMP caused the following false

   statements and representations to be made to the grand jury and the FBI in a sworn certification

   executed by Trump Attorney 3:

                  a.     "A diligent search was conducted of the boxes that were
                         moved from the White House to Florida";

                  b.     "This search was conducted after receipt of the subpoena, in
                         order to locate any and all documents that are responsive to
                         the subpoena"; and

                  c.     "Any and all responsive documents accompany this
                         certification."

          92.     The statements and representations set forth above were false, as TRUMP knew,

   because TRUMP had directed that boxes be removed from the Storage Room before Trump

   Attorney 1 conducted the June 2, 2022 search for documents with classification markings, so that

   Trump Attorney 1's search would not and did not include all of TRUMP's boxes that were

   removed from the White House; Trump Attorney 1's search would not and did not locate all




                                                   40
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 42 of Page
                                                                          50 41 of 49




    documents responsive to the May 11 Subpoena; and all responsive documents were not provided

   to the FBI and the grand jury with the certification. In fact, after June 3, 2022, more than 100

   documents with classification markings remained at The Mar-a-Lago Club until the FBI search on

   August 8, 2022.

              All in violation of Title 18, United States Code, Sections 1001(a)(2) and 2.




                                                  41
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 43 of Page
                                                                          50 42 of 49




                                               COUNT38
                                False Statements and Representations
                                       (18 U.S.C. § 1001(a)(2))

           93.     The General Allegations of this Indictment are re-alleged and fully incorporated

    here by reference.

           94.     On May 26, 2022, NAUTA participated in a voluntary interview with the FBI.

   During the interview, the FBI explained to NAUTA that the FBI was investigating how classified

   documents had been kept at The Mar-a-Lago Club, and the FBI asked NAUTA questions about

   the location and movement of TRUMP' s boxes before TRUMP provided 15 boxes to NARA on

   January 17, 2022. NAUTA was represented by counsel, and the FBI advised NAUTA that the

   interview was voluntary and that he could leave at any time. The FBI also advised NAUTA that

    it was a criminal offense to lie to the FBI. The interview was recorded.

           95.     On or about May 26, 2022, in Palm Beach County, in the Southern District of

   Florida, and elsewhere, the defendant,

                                         WALTINE NAUTA,

   in a matter within the jurisdiction of the executive branch of the United States government, did

   knowingly and willfully make a materially false, fictitious, and fraudulent statement and

   representation; that is-in a voluntary interview during a federal criminal investigation being

   conducted by the FBI, NAUTA was asked the following questions and gave the following false

   answers:

                  Question:       Does any - are you aware of any boxes being brought
                                  to his home - his suite?

                  Answer:

                                                  •••



                                                   42
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 44 of Page
                                                                          50 43 of 49




               Question:   All right. So, so to the best of your knowledge,
                           you're saying that those boxes that you brought onto
                           the truck, first time you ever laid eyes on them was
                           just the day of when [Trump Employee 2] needed
                           you to--

               Answer:     Correct.

               Question:   -to take them. Okay.

                                            •••
               Question:   In knowing that we're trying to track the life of these
                           boxes and where they could have been kept and
                           stored and all that kind of stuff--

               Answer:     Mm-hm.

               Question:   -do you have any information that could-that
                           would-that could help us understand, like, where
                           they were kept, how they were kept, were they
                           secured, were they locked? Something that makes
                           the intelligence community feel better about these
                           things, you know?

               Answer:     I wish, I wish I could tell you. I don't know. I
                           don't-I honestly iust don't know .

                                            •••
               Question:   And what-so, so you only saw the 15 boxes, 15, 17
                           boxes-

               Answer:     Mm-hm.

               Question:   -the day of the move? Even-they just showed up
                           that day?

               Answer:     They were in Pine Hall. [Trump Employee 2] just
                           asked me, hey, can we move some boxes?

               Question:   Okay.

               Answer:     And I was like, okay.




                                             43
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 45 of Page
                                                                          50 44 of 49




                   Question:      So, you didn't know-had no idea how they got there
                                  before?

                   Answer:

            96.    The underscored statements and representations above were false, as NAUTA

     knew, because (1) NAUTA did in fact know that the boxes in Pine Hall had come from the Storage

     Room, as NAUTA himself, with the ass~ce of Trump Employee 2. had moved the boxes from

     the Storage Room to Pine Hall; and (2) NAUTA had obse~ed the boxes in and moved them to

     various locations at The Mar-a-Lago Club.

                   All in violation of Title 18, United States Code, Section 100l(a)(2).


                                                    J




                                                         FOREPERSON




     J    SMITII
     S   IAL COUNSEL
     UNITED STATES DEPARTMENT OF JUSTICE




                                                   44
     Case 9:23-cr-80101-AMC
               Case 1:23-cr-10159-IT
                              Document
                                     Document
                                       3 Entered
                                              77-3on Filed
                                                     FLSD07/17/23
                                                           Docket 06/08/2023
                                                                    Page 46 of Page
                                                                               50 45 of 49
                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                  CASE NO.:
                                                                          ----------------
v.
Donald J. Trump and                                       CERTIFICATE OF TRIAL ATTORNEY
Waltine Nauta,
----------------'
       Defendants.
                                                          Superseding Case Information:
                                                          New Defendant(s) (Yes or No) No
                                                                                             ---
Court Division (select one)                               Number of New Defendants
   D Miami        D Key West            □ FTP             Total number of counts
   □ FTL          mlWPB

I do hereby certify that:
   1.   I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
        witnesses and the legal complexities of the Indictment/Information attached hereto.
  2.    I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
        their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

  3.       Interpreter: (Yes or No) ,No
                                      -----
           List language and/or dialect:
                                      ------
  4.       This case will take~ days for the parties to try.

     5.    Please check appropriate category and type of offense listed below:
           (Check only one)                       (Check only one)
           I    □ 0 to 5 days                 D Petty
           II □ 6 to 10 days                  D Minor
           III □ 11 to 20 days                □ Misdemeanor
           IV IE] 21 to 60 days               Ii] Felony
           V □ 61 days and over

  6.       Has this case been previously filed in this District Court? (Yes or No) _N_o_ _
           If yes, Judge__________ Case No. _ _ _ _ _ _ _ _ _ _ _ _ _ __
  7.       Has a complaint been filed in this matter? (Yes or No) No
           Ifyes, Magistrate Case No. _ _ _ _ _ _ _ _ _ __             ---
  8.       Does this case relate to a previously filed matter in this District Court? (Yes or No) N_o_ _
           If yes, Judge____________ Case No. _ _ _ _ _ _ _ _ _ _ _ _ _ __
  9.       Defendant(s) in federal custody as of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  10.      Defendant(s) in state custody as of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  11.      Rule 20 from the _ _ _ _ District of _ _ _.,,.,,.._ __
  12.      Is this a potential death penalty case? (Yes or No) _N_o_ _
  13.      Does this case originate from a matter pending in the Northern Region of the U.S. Attorney' s Office
           prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) No
     14.
                                                                                    ---
           Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
           prior to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) No
     15.
                                                                                   ---
           Did this matter involve the participation of or consultation with now Magistrate Judge Eduardo I. Sanchez
           during his tenure at the U.S. Attorney's Office, which concluded on January 22, 2023? _N_o_ _


                                                          By:
                                                                            ratt
                                                                     Assi tant Special Counsel
                                                                     Court ID No. A5502946
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 47 of Page
                                                                          50 46 of 49




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                         PENAL TY SHEET

  Defendant's Name: _...,.D=onal=""'d_J.....T.::..;.;:rwn=p_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  Case No:
             ------------------------------
  Counts #: 1-31

  Willful Retention of National Defense Information, 18 U.S.C. § 793{e}


  *Max.Term of Imprisonment: 10 years
  * Mandatory Min. Term of Imprisonment (if applicable): N/A
  * Max. Supervised Release: 3 years
  * Mu. Fine: $250,000
  Count#: 32

  Conspiracy to Obstruct Justice, 18 U.S.C. § 1512{k}


  * Max. Term of Imprisonment: 20 years
  * Mandatory Min. Term of Imprisonment (if applicable): N/A
  * Max. Supervised Release: 3 years
  * Mu. Fine: $250,000
  Count#: 33

  Withholding a Document or Record, 18 U.S.C. § 1512{b}{2}{A}


  *Max.Term of Imprisonment: 20 years
  * Mandatory Min. Term of Imprisonment (if applicable): N/A
  * Max. Supervised Release: 3 years
  * Max. Fine: $250,000




   *Refers only to possible term of incarceration, supervised release and fines. It does not include
        restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 48 of Page
                                                                          50 47 of 49




  Count#: 34

  Corruptly Concealing a Document or Record, 18 U.S.C. § 1512(c)(l)


  *Max.Term of Imprisonment: 20 years
  * Mandatory Min. Term of Imprisonment (if applicable): N/A
  * Max. Supervised Release: 3 years
  * Max. Fine: $250,000

  Count#: 35

  Concealing a Document in a Federal Investigation, 18 U.S.C. § 1519


  * Max. Term of Imprisonment: 20 years
  * Mandatory Min. Term of Imprisonment (if applicable): N/A
  • Max. Supervised Release: 3 years
  • Max. Fine: $250,000

  Count#:36           /

  Scheme to Conceal, 18 U.S.C. § 1001(a)(l)


  * Max. Term of Imprisonment: S years
  * Mandatory Min. Term of Imprisonment (if applicable): N/A
  * Max. Supervised Release: 3 years
  * Max. Fine: $250,000

  Count#: 37

  False Statements and Representations, 18 U.S.C. § 1001(a)(2)


  • Max. Term of Imprisonment: S years
  * Mandatory Min. Term of Imprisonment (if applicable): N/A
  • Max. Supervised Release: 3 years
  * Max. Fine: $250,000




   *Refers only to possible term of incarceration, supervised release and fines. It does not include
        restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 49 of Page
                                                                          50 48 of 49




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

  Defendant's Name: __W.:-.::a.lti='n;:;:e__,N=-a
                                                :::au=
                                                     ta - - - - - -- - - - - - - - - - - - - -

  Case No:
             ------------------------------
  Count #: 32

  Conspiracy to Obstruct Justice, 18 U.S .C. § 1512{k)


  * Max. Tenn of Imprisonment: 20 years
  * Mandatory Min. Term of Imprisonment (if applicable): N/A
  * Max. Supervised Release: 3 years
  * Max. Fine: $250,000
  Count #: 33

  Withholding a Document or Record, 18 U.S.C. § 1512(b)(2)(A)


  *Max.Tenn of Imprisonment: 20 years
  * Mandatory Min. Term of Imprisonment (if applicable): N/A
  * Max. Supervised Release: 3 years
  * MaL Fine: $250,000
  Count#: 34

  Corruptly Concealing a Document or Record, 18 U.S.C. § 1512(c)(l)

  *Max.Tenn of Imprisonment: 20 years
  * Mandatory Min. Term of Imprisonment (if applicable): N/A
  * Max. Supervised Release: 3 years
  * MaL Fine: $250,000
  Count#: 35

  Concealing a Document in a Federal Investigation, 18 U.S.C. § 1519

  * Max. Term of Imprisonment: 20 years
  * Mandatory Min. Term of Imprisonment (if applicable): N/A
  * Max. Supervised Release: 3 years
  * Max. Fine: $250,000

   *Refers only to possible term of incarceration, supervised release and fines. It does not include
        restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 9:23-cr-80101-AMC
          Case 1:23-cr-10159-IT
                         Document
                                Document
                                  3 Entered
                                         77-3on Filed
                                                FLSD07/17/23
                                                      Docket 06/08/2023
                                                               Page 50 of Page
                                                                          50 49 of 49




  Count#: 36

  Scheme to Conceal, 18 U.S.C. § lO0l(a)(l)

  *Max.Term of Imprisonment: 5 years
  * Mandatory Min. Term of Imprisonment (if applicable): N/A
  * Max. Supervised Release: 3 years
  * Max. Fine: $250,000

  Count#: 38

  False Statements and Representations, 18 U.S.C. § 1001(a)(2)

  * Max. Term of Imprisonment: 5 years
  * Mandatory Min. Term of Imprisonment (if applicable): N/A
  * Max. Supervised Release: 3 years
  * Max. Fine: $250,000




   *Refers only to possible term of incarceration, supervised release and fines. It does not include
        restitution, special assessments, parole terms, or forfeitures that may be applicable.
